Label Matrix for local noticing                PRA Receivables Management, LLC             Quantum3 Group LLC as agent for
1083-2                                         PO Box 41067                                MOMA Funding LLC
Case 15-20184                                  Norfolk, VA 23541-1067                      PO Box 788
District of Kansas                                                                         Kirkland, WA 98083-0788
Kansas City
Sun Aug 7 18:01:43 CDT 2016
The Bank of New York Mellon Trust Company, N   Kansas City Divisional Office               AFFILIATED MANAGEMEN
1661 Worthington Road                          161 Robert J. Dole US Courthouse            7219 METCALF SUITE 202
Suite 100                                      500 State Avenue                            OVERLAND PARK, KS 66204-1993
West Palm Beach, FL 33409-6493                 Kansas City, KS 66101-2448


BBY/CBNA                                       BMO HARRIS BANK NA                          BMO HARRIS TRUST& SAVI
50 NORTHWEST POINT ROAD                        770 N WATER ST, ATN: BRK-180-RC             111 W MONROE ST
ELK GROVE VILLAGE, IL 60007-1032               MILWAUKEE, WI 53202                         CHICAGO, IL 60603-4095



BMO Harris Bank NA                             Best Buy Credit Services                    (p)CAPITAL ONE
c/o South & Associates                         P.O. Box 790441                             PO BOX 30285
6363 College Blvd. Suite 100                   St. Louis, MO 63179-0441                    SALT LAKE CITY UT 84130-0285
Overland Park, KS 66211-1881


CBE Group                                      CCS/FIRST NATIONAL BAN                      CHASE
P.O. Box 930                                   500 E 60TH ST N                             PO BOX 15298
Waterloo, IA 50704-0930                        SIOUX FALLS, SD 57104-0478                  WILMINGTON, DE 19850-5298



CITI                                           CONSUMER COLLECTION MN                      CREDIT ONE BANK NA
PO BOX 6241                                    2333 GRISSOM DR                             PO BOX 98875
SIOUX FALLS, SD 57117-6241                     SAINT LOUIS, MO 63146-3322                  LAS VEGAS, NV 89193-8875



Capital One NA                                 Cavalry SPV I LLC                           Cavalry SPV I, LLC
c/o Becket and Lee LLP                         Bass and Associates PC                      500 Summit Lake Drive, Ste 400
POB 3001                                       3936 E Ft Lowell Suite 200                  Valhalla, NY 10595-1340
Malvern PA 19355-0701                          Tucson AZ 85712-1083


Citibank, N.A.                                 DEPT OF ED/NAVIENT                          DISCOVER FIN SVCS LLC
701 East 60th Street North                     PO BOX 9635                                 PO BOX 15316
Sioux Falls, SD 57104-0493                     WILKES BARRE, PA 18773-9635                 WILMINGTON, DE 19850-5316



Discover Bank                                  FNB OMAHA                                   First National Bank of Omaha
Discover Products Inc                          1620 DODGE ST                               1620 Dodge Street
PO Box 3025                                    OMAHA, NE 68197-0003                        Stop Code 3105
New Albany OH 430543025                                                                    Omaha Ne 68197-0003


First National Credit Card                     Hyundai Capital America DBA                 Internal Revenue Service
P.O. Box 5097                                  Kia Motors Finance                          P.O. Box 7346
Sioux Falls, SD 57117-5097                     PO Box 20825                                Philadelphia, PA 19101-7346
                                               Fountain Valley, CA 92728-0825
                                   Case 15-20184     Doc# 63-1        Filed 08/07/16   Page 1 of 3
KANSAS COUNSELORS OF K                           KOHLS/CAPONE                                  Kansas Department of Revenue
PO BOX 14765                                     N56 W 17000 RIDGEWOOD DR                      Civil Tax Enforcement
SHAWNEE MISSION, KS 66285-4765                   MENOMONEE FALLS, WI 53051-7096                PO Box 12005
                                                                                               Topeka KS 66601-3005


Kansas Dept. of Revenue                          Kia Motors Finance                            LVNV Funding, LLC its successors and assigns
915 SW Harrison St.                              P.O. Box 105299                               assignee of FNBM, LLC
Topeka, KS 66699-1000                            Atlanta, GA 30348-5299                        Resurgent Capital Services
                                                                                               PO Box 10587
                                                                                               Greenville, SC 29603-0587

MNET FIN INC                                     Mobiloans                                     Navient Solutions, Inc.
95 ARGONAUT STE 250                              151 Melacon Drive                             Department of Education Loan Services
ALISO VIEJO, CA 92656-4142                       Marksville, LA 71351-3065                     P.O. Box 9635
                                                                                               Wilkes-Barre, PA 18773-9635


OCWEN LOAN SERVICING L                           OPTIMA RECOVERY SERVIC                        (p)PORTFOLIO RECOVERY ASSOCIATES LLC
12650 INGENUITY DR                               6215 KINGSTON PK STE A                        PO BOX 41067
ORLANDO, FL 32826-2703                           KNOXVILLE, TN 37919-4044                      NORFOLK VA 23541-1067



SEARS/CBNA                                       SPRINGLEAF                                    STATE FARM FINANCIAL S
PO BOX 6282                                      PO BOX 64                                     3 STATE FARM PLAZA N-4
SIOUX FALLS, SD 57117-6282                       EVANSVILLE, IN 47701-0064                     BLOOMINGTON, IL 61791-0002



SYNCB/CARE CREDIT                                SYNCB/JCP                                     SYNCB/OLD NAVY
950 FORRER BLVD                                  PO BOX 965007                                 PO BOX 965005
KETTERING, OH 45420-1469                         ORLANDO, FL 32896-5007                        ORLANDO, FL 32896-5005



SYNCB/PHILLIPS 66                                SYNCB/QVC                                     (p)SPRINGLEAF FINANCIAL SERVICES
4125 WINDWARD PLZ                                PO BOX 965018                                 P O BOX 3251
ALPHARETTA, GA 30005-8738                        ORLANDO, FL 32896-5018                        EVANSVILLE IN 47731-3251



State Farm Bank                                  Synchrony Bank                                TD BANK USA/TARGETCRED
c/o Becket and Lee LLP                           c/o Recovery Management Systems Corp          PO BOX 673
POB 3001                                         25 SE 2nd Ave Suite 1120                      MINNEAPOLIS, MN 55440-0673
Malvern PA 19355-0701                            Miami FL 33131-1605


U.S. Trustee                                     US Department of Education                    (p)VON MAUR INC
Office of the United States Trustee              PO Box 16448                                  6565 BRADY STREET
301 North Main Suite 1150                        St. Paul, MN 55116-0448                       DAVENPORT IA 52806-2054
Wichita, KS 67202-4811


eCAST Settlement Corporation assignee of Cit     td bank usa, n.a.                             David A. Reed
NA                                               c o Weinstein and Riley PS                    7823 Parallel Parkway
POB 29262                                        2001 Western Avenue Suite 400                 Kansas City, KS 66112-2036
New York NY 10087-9262                           Seattle WA 98121-3132
                                      Case 15-20184    Doc# 63-1          Filed 08/07/16   Page 2 of 3
Mark H Engen                                           Maureen E. Engen                                     William H Griffin
7905 W. 96th Street                                    7905 W. 96th Street                                  5115 Roe Blvd Ste 200
Overland Park, KS 66212-3308                           Overland Park, KS 66212-3308                         Roeland Park, KS 66205-2393




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CAP ONE                                                Portfolio Recovery Associates, LLC                   (d)Portfolio Recovery Associates, LLC
PO BOX 85520                                           POB 41067                                            POB 41067
RICHMOND, VA 23285                                     Norfolk VA 23541                                     Norfolk, VA 23541



Springleaf Financial Services, Inc.                    VON MAUR
PO Box 3251                                            6565 BRADY ST
Evansville IN 47731-3251                               DAVENPORT, IA 52806-2054




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)BMO Harris Bank, N.A., successor by merger          (d)Quantum3 Group LLC as agent for                   End of Label Matrix
                                                       MOMA Funding LLC                                     Mailable recipients   62
                                                       PO Box 788                                           Bypassed recipients    2
                                                       Kirkland, WA 98083-0788                              Total                 64




                                      Case 15-20184          Doc# 63-1        Filed 08/07/16         Page 3 of 3
